       Case 4:22-cv-02214 Document 1 Filed on 07/06/22 in TXSD Page 1 of 4




                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

 TIFFANY HOLLAND                                    §
                                                    §
                                                    §
 VS.                                                §                          CIVIL ACTION NO.
                                                    §
                                                    §
 WALMART STORES TEXAS, LLC                          §          DEFENDANT DEMANDS A JURY


                                       NOTICE OF REMOVAL

TO THE HONORABLE UNITED STATES DISTRICT COURT:

        COMES NOW, Defendant WAL-MART STORES TEXAS, LLC (herein after

“Walmart”), and files this Notice of Removal, pursuant to 28 U.S.C. §§ 1441 and 1446, removing

the above-captioned case from the 133rd Judicial District Court, Harris County, Texas, to the

United States District Court for the Southern District of Texas.

                                               I.
                                         RELEVANT FACTS

        1.         Plaintiff Tiffany Holland (hereinafter “Plaintiff”) claims that on or about December

27, 2021, she was at Wal-Mart Store #3296 located at 2700 S. Kirkwood Road, Houston, Texas,

when she “slipped and fell on an unidentified liquid substance.” See Exhibit A, Plaintiff’s Original

Petition, at ¶8.

        2.         Plaintiff alleges that she is a resident of Harris County, Texas. See Id. at ¶3.

Plaintiff’s lawsuit seeks damages over $1,000,000. See id. at ¶2.

                                                 II.
                                            THE PARTIES

        3.         As noted, Plaintiff pleaded that she resides in Harris County, Texas. See Id. at ¶3.

As such, Plaintiff is a citizen of the State of Texas.
       Case 4:22-cv-02214 Document 1 Filed on 07/06/22 in TXSD Page 2 of 4




        4.      Defendant Wal-Mart Stores Texas, LLC is now, and was at the time of filing of this

action, a Delaware Limited Liability Company with its principal place of business in Arkansas.

The citizenship of an LLC is the same as the citizenship of all its members. Harvey v. Grey Wolf

Drilling, Co., 542 F.3d 1077, 1080 (5th Cir. 2008). Wal-Mart Real Estate Business Trust is the

sole member of Wal-Mart Stores Texas, LLC.

                                               III.
                                       BASIS FOR REMOVAL

        5.      Walmart removes this case to federal court because there is complete diversity of

citizenship between the parties and the amount in controversy is greater than $75,000, exclusive

of interest and costs. See 28 U.S.C. § 1332(a).

A.      There is complete diversity of citizenship between Plaintiff and the Defendants.

        6.      There is complete diversity of citizenship, see 28 U.S.C. §§ 1332, 1441, between

the Texas Plaintiff and Walmart. As previously noted, Walmart is a citizen of Delaware and

Arkansas.

     B. The amount in controversy requirement is met.

        7.      A removing party may establish that the amount in controversy exceeds $75,000

by showing the non-removing party explicitly sought damages over $75,000. See Gebbia v. Wal-

Mart Stores, Inc., 233 F.3d 880, 881 (5th Cir. 2000). Here, Plaintiff’s lawsuit expressly pleaded

that she seeks monetary relief from her lawsuit in an amount over $1,000,000. See id. at ¶2. Thus,

this requirement has been satisfied.

     C. This removal is timely and venue is proper.

        8.      This Notice of Removal is being filed within 30 days of service of Plaintiff’s

lawsuit on Walmart, and within one year of the commencement of this action. It is therefore timely.




Defendant’s Notice of Removal                                                            Page 2 of 4
       Case 4:22-cv-02214 Document 1 Filed on 07/06/22 in TXSD Page 3 of 4




Venue is proper in this District under 28 U.S.C. § 1441(a) because the state court where the action

is pending is in this District.

    D. Procedural requirements for removal are satisfied

        9.      Upon filing of this Notice of Removal of the cause, Walmart gave written notice of

the filing to Plaintiff and her counsel as required by law. A copy of this Notice is also being filed

with the Clerk of the Court of the 133rd Judicial District Court, Harris County, Texas, where this

cause was originally filed. A copy of all processes, pleadings, and orders has been filed separately

with this Court pursuant to 28 U.S.C. § 1446(a).

                                           IV.
                                  CONCLUSION AND PRAYER

        10.     Based on the foregoing, Walmart has established that the amount in controversy

exceeds $75,000.00 and that diversity of citizenship exists between the remaining named parties

in this case. Therefore, removal is proper in this case.




Defendant’s Notice of Removal                                                              Page 3 of 4
       Case 4:22-cv-02214 Document 1 Filed on 07/06/22 in TXSD Page 4 of 4




                                                   Respectfully submitted,

                                                   BUSH & RAMIREZ, PLLC

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                                                   ATTORNEYS FOR DEFENDANT
                                                   WAL-MART STORES TEXAS, LLC




                                CERTIFICATE OF SERVICE


       I hereby certify that a copy of the foregoing instrument has been sent to all interested
counsel of record in accordance with the FEDERAL RULES OF CIVIL PROCEDURE on this 6th day of
July 2022.


                Chelsea Murfree
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                                                     /s/ John A. Ramirez
                                                   John A. Ramirez




Defendant’s Notice of Removal                                                        Page 4 of 4
